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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
                                 Case No. 0:21-cv-62200-MGC

  DELROY A. CHAMBERS, JR.,

         Plaintiff,

  v.

  COMPRA VENTA MIAMI, LLC,

        Defendant.
  __________________________________/

              PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS

         Plaintiff, by and through undersigned counsel, hereby responds to Defendant’s Motion to

  Dismiss (D.E. 10), and in support thereof states:

         1.      Immediately prior to the filing of this Response, Plaintiff filed his First Amended

  Complaint (D.E. 11), directly addressing issues raised in Defendant’s Motion to Dismiss, and

  including additional facts and evidence not plead in, or attached to, his original Complaint.

         2.      Plaintiff’s First Amended Complaint supersedes the original Complaint. See e.g.,

  Varnes v. Local 91, Glass Bottle Blowers Ass'n of U.S. & Canada, 674 F.2d 1365, 1370, n.6 (11th

  Cir. 1982); Fritz v. Standard Sec. Life Ins. Co. of New York, 676 F.2d 1356, 1358 (11th Cir. 1982)

  (“Under the Federal Rules, an amended complaint supersedes the original complaint.”); Dugas v.

  3M Co., 2014 U.S. Dist. LEXIS 195890 at *6 (M.D. Fla. Dec. 2, 2014) (denying motions to dismiss

  as moot because plaintiffs were granted leave to amend their complaint, reasoning that “[a]

  properly-filed second amended complaint renders moot a motion to dismiss a prior complaint.”);

  Gulf Coast Recycling, Inc. v. Johnson Controls, Inc., 2008 U.S. Dist. LEXIS 11269 at *3 (M.D.

  Fla. Feb. 14, 2008) (holding same).
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         3.      Accordingly, Defendant’s Motion to Dismiss is rendered moot. See e.g., Delta

  Sigma Theta Sorority, Inc. v. Bivens, 2014 U.S. Dist. LEXIS 175419 at *13-14 (M.D. Fla. Dec.

  19, 2014) (“filing an amended complaint will render moot [the] pending Motion to Dismiss”)

  (citing Malowney v. Fed. Collection Deposit Grp., 193 F.3d 1342, 1345 n.1 (11th Cir. 1999));

  Murray v. West Palm Beach Housing Authority, 2008 U.S. Dist. LEXIS 95937 at *3 (S.D. Fla.

  2008) (“By filing an amended complaint, Defendant’s motion to dismiss the original complaint is

  rendered moot.”); Doonan v. Carnival Corp., 404 F.Supp.2d 1367, 1369 (S.D. Fla. 2005) (“the

  Court denied as moot the Motion to Dismiss in light of the fact that Plaintiffs had filed an Amended

  Complaint”); Trahan v. Sandoz, Inc., 2014 U.S. Dist. LEXIS 23569 at *4 (M.D. Fla. Feb. 25, 2014)

  (“the Court notes that the filing of the amended complaint will render moot the pending Motion to

  Dismiss which is directed to the original Complaint.”).

         4.      Accordingly, Defendant’s Motion to Dismiss should be denied as moot.

         WHEREFORE, Plaintiff respectfully requests that this Honorable Court deny

  Defendant’s Motion to Dismiss.

                                                       Respectfully submitted,

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                                                       Attorneys for the Plaintiff

                                                       By: s/ Joshua A. Glickman             .
                                                             Joshua A Glickman, Esq.
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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

  Court using the CM/ECF system, on this 4th day of March 2022, which will send a notice of

  electronic filing to all attorneys of record.


                                                  By: s/ Joshua A. Glickman         .
                                                        Joshua A Glickman, Esq.
